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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20449-CR-ALTONAGA


   UNITED STATES OF AMERICA,

                                     Plaintiff,

                  v.

   CHUNZAI WANG,

                                   Defendant.



                                 DEFENDANT’S WITNESS LIST

         Defendant, Chunzai Wang, by and through his undersigned counsel, hereby submits the

  following list of witnesses he may call at the trial in the above-captioned matter:

         1.    Jeffrey Harrington, Office of General Counsel, Dept. of Commerce

         2.    Robert Atlas, AOML Director

         3.    Rene Eppi, International Activities, OAR

         4.    Molly Barringer, AOML

         5.    Silvia Garzoli, formerly AOML

         6.    Dr. Jia Wang, NOAA

         7.    Dr. Shian-Jiann Lin, NOAA

         8.    Dr. Shaoqing Zhang, NOAA

         9.    William Kessler, NOAA

         10.   Dr. David Enfield

         11.   Dr. John Brynes
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  Dated: February 12, 2018                 Respectfully submitted,

                                            s/ Samuel J. Rabin, Jr.
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                                           Attorneys for Defendant Chunzai Wang




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 12th day of February 2018, a true and correct copy of

  the foregoing Witness List was furnished via the CM/ECF system to all parties designated to

  receive the electronic filings in this cause.


                                                  /s/ Samuel J. Rabin, Jr.
                                                  Samuel J. Rabin, Jr
